Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 1 of 42 PageID #: 687




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


   DIANA MEY, individually and on behalf of a
   class of all persons and entities similarly
   situated,

                 Plaintiff,

   v.                                                  Civil Action No. 5: 15-cv-00101-JPB
                                                       Hon. John Preston Bailey

   GOT WARRANTY, INC., N.C.W.C., TNC.,
   PALMER ADMINISTRATlVE SERVlCES,
   INC., and GANNA FREIBERG,

                 Defendants.

                         CLASS ACTION SETTLEMENT AGREEMENT

          This class action settlement agreement ("Agreement" or "Settlement Agreement") is

   entered into as of March_~ 2017, by and among DIANA MEY ("Plaintiff'), individually and

   on behalf of the class of persons she seeks to represent (the "Settlement Class" defined below),

   and GOT WARRANTY, INC., N.C.W.C., INC., and PALMER ADMINISTRA TJVE SERVICES,

   INC. ("Defendants") (Plaintiff and Defendants are collectively referred to as the "Parties"). This

   Settlement Agreement is intended by the Parties to fully, finally, and forever resolve, discharge,

   and settle the Released Claims (defined below), subject to the terms and conditions of the

   Agreement and the final approval of the Court.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 2 of 42 PageID #: 688




                                             RECITALS


          A.      On August 6, 2015, Plaintiff filed a putative class action complaint against

   Defendants in the United States District Court for the Northern District of West Virginia (the

   "Action"), alleging, among other things, that Defendants violated the Telephone Consumer

   Protection Act's prohibitions against telemarketing calls to numbers on the National Do Not Call

   Registry, and automatically dialed telemarketing calls to cellular telephone numbers. See 47 U.S.C.

   § 227 (the "TCPA").

          B.      In separate Answers, Defendants asserted affirmative defenses and denied that they

   violated the TCPA.

          C.      On July 11, 2016, the Parties participated in a full-day mediation with an

   experienced mediator, Webster .J. Arceneaux, III. During the mediation, the Patties reached an

   agreement on the key terms of a class settlement which were outlined in a memorandum executed

   by Class Counsel and Defense Counsel.

          D.      Defendants at aU times have denied and continue to deny any wrongdoing

   whatsoever and have denied and continued to deny that they violated the TCPA, or committed any

   other wrongfuJ act or violation of law.

          E.      Plaintiff believes that the claims asserted in the Action have merit. Nonetheless,

   Plaintiff and her counsel recognize and acknowledge the expense, time, and risk associated with

   continued prosecution of the Action against Defendants through dispositive motions, class

   certification, trial, and any subsequent appeals. Plaintiff and Plaintiffs counsel also have taken

   into account the uncertainty, difficulties, and delays inherent in litigation, especially in complex

   actions. Therefore, Plaintiff and Plaintiff's counsel believe that it is desirable that the Released

   Claims be fully and finally compromised, settled, dismissed with prejudice, and barred pursuant
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 3 of 42 PageID #: 689




   to the terms set forth herein. Based on their evaluation, Plaintiff and Plaintiff's counsel have

   concluded that the tenns and conditions of this Agreement are fair, reasonable, and adequate for

   the Settlement Class, and that it is in the best interests of the Settlement Class to settle the Released

   Claims pursuant to the terms and provisions of this Agreement.

            F.     The Parties agree that the Action was resolved in good faith, fol1owing arm's-length

   bargaining presided over by a neutral mediator.

            NOW, THEREFORE, lT IS HEREBY STIPULATED AND AGREED by and among the

   Parties, by and through their respective counsel, subject to final approval by the Court after a

   hearing or hearings as provided for in this Settlement Agreement, and in consideration of the

   benefits flowing from the Settlement Agreement set forth herein, that the Action and the Released

   Claims shall be finally and fully compromised, settled, and released, and the Action shall be

   dismissed with prejudice, upon and subject to the terms and conditions of this Agreement.



                                              AGREEMENT
   1.       DEFINITIONS

            As used in this Settlement Agreement, the following terms have the meanings specified

   below:

            1.1    "Defendants' Counsel" means:

                           Mitchell N. Roth
                           Roth Jackson
                           8200 Greensboro Drive
                           Suite 820
                           McLean, VA 22102
                           Attorneys for NCWC and Palmer

                           Gordon H. Copland
                           Steptoe & Johnson PLLC
                           400 White Oaks Boulevard
                           Bridgeport, WV 26330
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 4 of 42 PageID #: 690




                         Attorney for NCWC and Palmer

          1.2    "Class Counsel" means:

                        Edward Broderick
                        Anthony Paronich
                        BRODERJCK & PARONICH, P.C.
                        99 High St., Suite 304
                        Boston, Massachusetts 02110

                         Matthew P. McCue
                         THE LAW OFFICE OF MATTHEW P. MCCUE
                         l South Avenue, Suite 3
                         Natick, Massachusetts 01760

                         John W. Barrett
                         Jonathan R. Marshall
                         BAILEY & GLASSER LLP
                         209 Capitol Street
                         Charleston, WV 25301

          1.3    "Class Representative" means Diana Mey.

          1.4    "Court" means the United States District Court for the Northern District of West

   Virginia.

          1.5    Distributions. The "First Distribution" is that distribution made under Paragraph

   2.3. I. The "Second Distribution" is that distribution made under Paragraph 2.3.2.

          1.6    "Effective Date" means the date one ( 1) business day after which all of the events

   and conditions specified in Paragraph 9.1 have occurred and have been met.

          1. 7   "Fee Award" means the amount of attorneys' fees and reimbursement of expenses

   awarded by the Court to Class Counsel.

           1.8   "Final" means one (1) business day following the later of the following events:

   (i) the date upon which the time expires for filing or noticing any appeal of the Court's Final

   Approval Order and Judgment; or (ii) if there is an appeal or appeals, other than an appeal or
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 5 of 42 PageID #: 691




   appeals solely with respect to the Fee A ward, the date of final dismissal or completion - in a

   manner that finally affirms and leaves in place the Final Approval Order and Judgment.

          l.9      "Final Approval Hearing" means the hearing before the Court where the Parties

   will request that the Court enter the Final Approval Order and Judgment, approve the Settlement

   Agreement, and approve the Fee Award and the incentive award to the Class Representative.

          1.10     "Final Approval Order and Judgment" means a document substantially in the

   form of Exhibit 1, to be entered by the Court following the Final Approval Hearing.

           1.11    "Mediator" means Webster J. Arceneaux, Ill.

           1.12    "Notice" means the notice of tms Settlement Agreement and Final Approval

   Hearing, which is to be provided to the Settlement Class in accordance with this Agreement and

   substantially in the form of Exhibits 2 and 3 hereto.

          1.13     ''Notice Plan" means the plan, as set forth in Paragraph 4.2 and as executed and

   administered by the Settlement Administrator, for disseminating notice to members of the

   Settlement Class of the Settlement Agreement and of the Final Approval Hearing.

           1.14    "Objection/Exclusion Deadline" means the date by which (I) a written objection

   to this Settlement Agreement, or (2) a request for exclusion, must be postmarked, which shall be

   no later than fifty-one (51 ) days after entry of the Preliminary Approval Order, or such other date

   as ordered by the Court, which deadline shall be posted to the Settlement Website listed in

   Paragraph 4.2.2.

           l .15   "Preliminary Approval Order" means the document substantially in the form of

   Exhibit 4, to be entered by the Court for purposes of preliminarily approving the Settlement

   Agreement, certifying the Settlement Class solely for settlement purposes, and approving the form

   of the Notice and the Notice Plan.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 6 of 42 PageID #: 692




           I . l6   "Released Claims" means the scope of claims released by the following language:

   Plaintiff and each member of the Class not opting out, their respective assigns, heirs, successors,

   predecessors, parents, subsidiaries, officers, directors, shareholders, members, managers,

   partners, principals, representatives, employees, as ofthe Effective Date of the Stjpulation of

   Settlement, do hereby release and forever discharge Defendants, jointly and severally, and

   all of their ptesent or former predecessors, successors, subsidiaries, affiliates, resellers,

   producers and agents and all of their respective officers, directors, members, principals,

   insurers, insureds, employees, shareholders, attorneys, servants, and assigns (''Released

   Parties'') of and from all claims, demands, causes of actions, suits, damages, fees arising out

   of the transmission of calls, including telemarketing calls, from or on behalf of Defendants

   Got Warranty, Inc., N.C.W.C., Inc. and Palmer Administrative Services, Tnc. and/or which in any

   way arise out of or allege violations by the Defendants of the TCPA or similar state laws governing

   such matters including, but not limited to, those which are the subject of the Action, and occur at

   any time before entry of the Preliminary Approval Order.

           1.17     "Released Parties" means Defendants (including, for purposes of this

   paragraph only, Defendants Got Warranty, Inc. and Ganna Frieberg), jointly and severally,

   and a1l of their present or former predecessors, successors, subsidiaries, and all of their

   respective officers, directors, members, principals, insurers, insureds, representatives,

   employees, producers, agents, resellers, shareholders, attorneys, and assigns.

           1.18     "Releasing Parties" means: (a) Plaintiff; and (b) Settlement Class Members who

   do not timely opt out of the Settlement Class (whether or not such members submit claims).

           l. I 9   "Settlement" means the settlement contemplated by this Agreement.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 7 of 42 PageID #: 693




           1.20    "Settlement Administration Expenses" means the expenses incurred by the

    Settlement Administrator in providing Notice and mailing checks for Settlement Class Members.

    Settlement Administration Expenses shall be paid from the Settlement Fund.

           1.21    "Settlement Administrator" means Kurtzman Carson Consultants LLC ("KCC").

           J .22   "Settlement Class" means all persons or entities within the United States to whom

    Got Warranty, Inc., or any third parties on its behalf, sent telemarketing calls promoting the goods

    or services of the Defendants at any time from August 6, 2011 to the signing of this Agreement.

            1.23   "Settlement Class Member" means a person who falls within the definition of the

    Settlement Class and who has not submitted a valid request for exclusion.

           1.24    "Settlement Class Recovery" means the amount of the Settlement Fund avallable

    for distribution to the Settlement Class, after payment of Settlement Administration Expenses, the

    Fee Award to Class Counsel, and any approved incentive award to the Class Representative.

           1.25    "Settlement Fund" means the Six Hundred and Fifty Thousand Dollars

    ($650,000) that Defendants have agreed to pay pursuant to the terms ofthis Settlement Agreement,

    including but not limited to Paragraph 2.1 below.

           1.26    "Settlement Website" means the website to be created by the Settlement

    Administrator containing full details and information about the Settlement, including this

    Agreement and the Notice. Plaintiff will provide Defendants with the opportunity to review and

    comment on the Settlement Website and its contents, and Plaintiff shall accommodate Defendant's

    reasonable concerns.

    2.     SETTLEMENT RELIEF

           2.1     Settlement Fund. Defendants agree to provide a Settlement Fund in the amount of

    Six Hundred and Fifty Thousand DoHars ($650,000) for the purpose of making payments with
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 8 of 42 PageID #: 694




   respect to all Class Members under this Agreement, all Settlement Administration Expenses, any

   incentive award to the Class Representative, and any Fee Award to Class Counsel. Defendants will

   fund the Settlement Fund as follows: (a) By March 15, 2017, Defendants will transfer $260,000

   of immediately available funds to an interest bearing trust account maintained by Class Counsel ;

   (b) $195,000 wilJ be paid in the same manner on or before March 15, 2018; and (c) $195,000 wiJI

   be paid in th~ same manner on or before March 15, 2019. Class Counsel will hold those amounts

   until such Hme as the Settlement Administrator is authorized to use or pay those funds, including

   for any authorized up-front notice costs, pursuant to the Settlement Agreement, the Preliminary

   Approval Order, or the Final Approval Order and Judgment.

          2.2    Injunctive Relief. As a result of the settlement, NCWC and Palmer will require

   that any entity placing calls on its behalf and any reseller join and comply with the standards of

   conduct adopted by the Vehicle Protection Association ("VP A''). NCWC and Palmer will maintain

   evidence of this membership, and shall produce such evidence to Plaintiff's counsel upon request

    Defendants wiJI terminate any reseller that refuses to join the VPA, and any reseller whose

   membership with the VPA is terminated for any reason.

          2.3    Monetary Payments

                 2.3.1. As soon as practicable but no later than sixty (60) days after the second

                         payment to the Settlement Fund is made, or such other date as the Court

                         may set, the Settlement Administrator shall distribute: (i) to Class Counsel,

                         two-thirds of the attorneys' fees and costs awarded by the Court; (ii) to the

                         Class Representative, any incentive award approved by the Court; (iii)

                         through the "First Distribution," a per capita share of all remaining funds in

                         the Settlement Fund. If more than one Class Member resides in a single
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 9 of 42 PageID #: 695




                      home, the residents of that home collectively would be entitled to only one

                      per domicile share. Payments to Settlement Class Members shall be mailed

                      via first-class mail .

              2.3.2 As soon as practicable but no later than sixty (60) days after the third

                      payment to the Settlement Fund is made, or such other date as the Court

                      may set, the Settlement Administrator shall distribute (i) the remaining one-

                      third of the attorneys' fees and costs awaJded by the Comt; and (ii) through the

                      ''Second Distribution," a per capita share of all remaining funds in the

                      Settlement Fund. If more than one Class Member resides in a single home,

                      the residents of that home collectively would be entitled to only one per

                      do1nicile share. Payments to Settlement Class Members shall be mailed via

                      first-class mail.

              2.3.3   All payments issued to Settlement Class Members will state on the face of

                      the check that the check will expire and become null and void unless cashed

                      within ninety (90) days after the date of issuance.

              2.3.4 To the extent that any checks to Settlement Class Members mailed through the

                      First Distribution to Settlement Class Members expire and become null and

                      void, the Settlement Administrator shall retain those funds to be distributed

                      through the Second Distribution. Any funds not deposited through the

                      Second Distribution shall be distributed as cypres award to the National

                      Consumer Law Center or other charitable organization designated by the Comt.

                      Distribution to the National Consumer Law Center is autholized without
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 10 of 42 PageID #:
                                     696



                       further order of the Court, but any other cy pres distribution shall be on

                       motion of a party or the parties, and order of the Court.

  3.   RELEASES

        3 .1 The Parties intend that this Settlement Agreement will fully and finally dispose of the

             Action and any and all Released Claims against the Released Parties.

        3 .2 Upon the Effective Date, the Releasing Parties, and each of them, shall be deemed to

             have, and by operation of the Final Approval Order and Judgment shall have, fully,

             finally, and forever released, relinquished, and discharged all Released Claims against

             the Rele:ased Parties, and each of them.

  4.   NOTICE TO THE CLASS

        4. t Upon entry of the Preliminary Approval Order, the Settlement Administrator shall

             cause the Notice to be disseminated to potential Settlement Class Members. Such

             Notice shall comport with Rule 23 of the Federal Rules of Civil Procedure, and be

             effectuated pursuant to the Notice Plan, the costs of which shall be Settlement

             Administration Expenses, and which shall be paid from the Settlement Fund.

        4.2 The Notice Plan, which was developed in consultation with the Settlement

             Administrator, includes:

               4.2.1   Direct Notice. Subject to the approval of the Court, the Settlement

                       Administrator shall send direct notice, within twenty-one (21) days after

                       entry of the Preliminary Approval Order, substantially in the form provided

                       in Exhibit 3, via the U.S. Postal Service to the Settlement Class Members

                       whose name and address are obtained by the Parties from Defendants and/or

                       through a reverse-lookup process done by the Settlement Administrator.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 11 of 42 PageID #:
                                     697



              4.2.2   Internet Notice. Subject to the approval of the Court, the Settlement

                      Administrator shall, within twenty-one (21) days after entry of the

                      Preliminary Approval Order, place targeted Internet banner ads providing

                      information about the Settlement and links to the Settlement Website on

                      the Google Display Network and Facebook.

              4.2.3   Settlement Website. Within fourteen (14) days after entry of the Preliminary

                      Approval Order, Notice shall be provided on a website, which shall be

                      administered by the Settlement Administrator. The Notice on the Settlement

                      Website shall be substantially in the form of Exhibit 2 hereto.

        4.3   Any member of the Settlement Class who intends to object to this Agreement must

              send to the Court a written statement that includes: his or her full name; address;

              telephone number or numbers that he or she maintains were called; all grounds for

              the objection, with factual and legal support for each stated ground; the identity of

              any witnesses he or she may call to testify; copies of any exhibits that he or she

              intends to introduce into evidence at the fin al Approval Hearing; a statement of the

              identity (including name, address, phone number and email) of any lawyer who was

              consulted or assisted with respect to any objection, and a statement of whether he

              or she intends to appear at the Final Approval Hearing with or without counsel. Any

              member of the Settlement Class who fails to timely file a written objection in

              accordance with the terms of this paragraph and as detailed in the Notice, and at the

              same time provide a copy of the filed objection to the Settlement Administrator,

              shall not be permitted to   o~ject   to this Agreement at the Final Approval Hearing,

              and shall be foreclosed from seeking any review of this Agreement by appeal or
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 12 of 42 PageID #:
                                     698



              other means and shall be deemed to have waived his or her objections and be

              forever barred from making any such objections in the Action or any other action

              or proceeding. To be timely, the objection must be filed and sent to the Settlement

              Administrator on or before the Objection/Exclusion Deadline approved by the

              Court and specified in the Notice.

        4.4   Any member of the Settlement Class may request to be excluded from the

              Settlement Class by sending a written request for exclusion to the Settlement

              Administrator postmarked on or before the Objection/Exclusion DeadIine approved

              by the Court and specified in the Notice. ln order to exercise the right to be

              excluded, a member of the Settlement Class must timely send a written request for

              exclusion to the Settlement Administrator providing his or her full name, address,

              and telephone numbers. Further, the written request for exclusion must include a

              statement that the member of the Settlement Class submitting the request wishes to

              be excluded from the Settlement, and the personal signature of the member of the

              Settlement Class submitting the request. A request to be excluded that does not

              include all of the foregoing information, or that is sent to an address other than that

              designated in the Notice, or that is not postmarked within the time specified, shall

              be invalid, and any Person serving such a request shall be a Settlement Class

              Member and shall be bound as a Settlement Class Member by the Agreement, if

              approved. Any member of the ~ettlement Class who elects to be excluded shall not:

              (i) be bound by the Final ApprovaJ Order and Judgment; (ii) be entitled to relief

              under this Settlement Agreement; (iii) gain any rights by virtue of this Agreement;
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 13 of 42 PageID #:
                                     699



                or (iv) be entitled to object to any aspect of this Agreement. So-called "mass" or

                "class" opt-outs shall not be allowed.

 5.     SETTLEMENT ADMINISTRATION

        5.1 The Settlement Administrator shall, under the supervision ofthe Court, administer the

             re,ief provided by this Settlement Agreement by completing its duties in a rational,

             responsive, cost effective, and timely manner. The Settlement Administrator shall

             maintain reasonably detailed records of its activities under this Agreement. The

             Settlement Admirustrator shall maintain all such records as are required by applicable

             law in accordance with its normal business practices, and such records will be made

             available to Class Counsel and Defendants' Counsel upon request. The Settlement

             Administrator shall provide reports and other information to the Court as the Court

             may require. Should the Court request, Class Counsel shall submit a report to the

             Court summarizing the work performed by the Settlement Administrator, including a

             report of all amounts from the Settlement Fund paid to Settlement Class Members on

             account of Settlement Class Members. Without Iimiting the foregoing, the Settlement

             Administrator shall receive objections and exclusion forms and promptly provide to

             Class Counsel and Defendants' Counsel copies thereof.

        5.2 In the exercise of its duties outlined in this Agreement, the Settlement Administrator

             shall have the right to reasonably request additional information from the Parties or

             any Settlement Class Member.

 6.   TERMINATION OF SETTLEMENT

        Termination Notice. Defendants, or the Class Representative on behalf of the Settlement

 Class, shaU have the rjght to request termination this Agreement by fi ling written request to do so
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 14 of 42 PageID #:
                                     700



 ("Termination Notice") with the Court and serving that Tennination Notice on all other Parties

 hereto within ten (10) business days of any of the following events: (i) the Court's refusal to enter

 a Preliminary Approval Order; or (ii) the Court's refusal to enter a F inal Approval Order and

 Judgment or any appellate Court refuses to Uphold the Final Approval Order and Judgment in any

  respect. Upon effective termination, the balance of the Common Fund not expended on notice and

  administration shall be returned to the Defendants.

  7.   PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL ORDER AND
       JUDGMENT.

         7. l Promptly after the execution of this Agreement, Plaintiff's counsel shall submit this

              Agreement together with its Exhibits to the Court and shall move the Court for entry

              of the Preliminary Approval Order, which shall, among other things, certify the

              Settlement Class for settlement purposes only, appoint Plaintiff's counsel as Class

              Counsel and Plaintiff as the Class Representative, shall set a Final Approval Hearing

              date, and approve the Notice for dissemination in accordance with the Notice Plan.

              Such Preliminary Approval Order shall also authorize the Parties, without further

              approval from the Court, to agree to and adopt such amendments, modifications and

              expansions of the Settlement Agreement and its implementing documents (including

              all exhibits to this Agreement) so long as they are consistent in all material respects

              with the terms of the Final Approval Order and Judgment set forth in Paragraph 7.4

              below.

         7.2 At the time of the submission of this Agreement to the Court as described above,

              Plaintiff's counsel and Defendants shall request that, after Notice is disseminated to

              members of the Settlement Class in accordance with the Notice Plan, the Court hold

              a   p· J Approval Hearing and approve the Settlement as set forth herein. The F inal
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 15 of 42 PageID #:
                                     701



            Approval Hearing shall be no earlier than one hundred (100) days after entry of the

            Preliminary Approval Order, or such other time as the Court shall set.

        7.3 The Settlement Administrator, with approval by the Parties, shall be responsible for

            compliance with the applicable provisions of the Class Action Fairness Act

            ("CAFA"), including the notice requirements in 28 U.S.C. § 1715.

        7.4 After Notice is disseminated in accordance with the Notice Plan, the Parties shall

            request and seek to obtain from the Court a Final Approval Order and Judgment,

            which will (among other things):

               7.4. l   Find that the Court has personal jurisdiction over all Settlement Class

                        Members and that the Court has subject matter jurisdiction to approve the

                        Agreement, including all exh ibits hereto;

               7.4.2    Approve the Settlement Agreement and the proposed Settlement as fair,

                        reasonable and adequate as to, and in the best interests of Settlement Class

                        Members; direct the Parties and their counsel to implement the Agreement

                        according to its terms and provisions; and declare the Agreement to be

                        binding on, and have preclusive effect on, all pending and future lawsuits

                        or other proceedings maintained by or on behalf of Plaintiff and the

                        Releasing Parties;

               7.4.3    Find that the Notice and the Notice Plan implemented pursuant to the

                        Agreement:    (1) constitute   the   best practicable notice     under the

                        circumstances; (2) constitute notice that is reasonably calculated to apprise

                        members of the Settlement Class of the pendency of the Action, their right

                        to object to or exclude themselves from the proposed Settlement, and to
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 16 of 42 PageID #:
                                     702



                     appear at the Final Approval Hearing; (3) are reasonable and constitute due,

                     adequate, and sufficient notice to all Persons entitled to receive notice; and

                     (4) meet all applicable requirements of the Federal Rules of Civil

                     Procedure, the Due Process Clause of the United States Constitution, and

                     the rules of the Court;

             7.4.4   Find that the Class Representative and Class Counsel adequately

                     represented the Settlement Class for purposes of entering into and

                     implementing the Agreement;

             7.4.5   Dismiss the Action (including all individual claims and Settlement Class

                     Member claims asserted therein against Defendants) on the merits and with

                     prejudice, without foes or costs to any Party except as provided in the

                     Settlement Agreement;

             7.4.6   Incorporate the releases set forth above, make those releases effective as of

                     the date of the final Approval Order and Judgment, and forever discharge

                     the Released Parties as set forth herein;

             7.4.7 . Without affecting the finality of the Final Approval Order and Judgment for

                     purposes of appeal, retain jurisdiction as to all matters relating to

                     administration, consummation, enforcement, and interpretation of the

                     Settlement Agreement and the Final Approval Order and Judgment, and for

                     any other necessary purpose; and

             7.4.8   Jncorporate any other provisions, as the Court deems necessary and just.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 17 of 42 PageID #:
                                     703



 8.   CLASS COUNSEL'S FEE AWARD; INCENTIVE AWARD.

       8.1 Subject to the Court's approval, Defendants have agreed that the Settlement Fund will

            be used to pay the Fee Award to Class Counsel. Class Counsel shall apply, subject to

            the approval of the Court, for a fee Award of up to one-third of the Common Fund of

            $650,000, plus out-of-pocket costs incurred by Class Counsel in this litigation.

           Nothing in this Agreement requires Defendants to take any position with respect to

            this paragraph.

       8.2 In lieu of any payments to which she may be entitled as a Settlement Class Member

            under the Settlement Agreement, and in recognition of her efforts on behalf of the

            Settlement Class, the Class Representatives shall, subject to the approval of the Court,

            be awarded an incentive award in the amount of fifteen thousand dollars ($15,000).

 9.   CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
      CANCELLATION OR TERMINATION.

       9.1 The Effective Date of this Settlement Agreement shall not occur unless and until each

            of the fo llowing events has occurred and shall be the date upon which the last (in time)

            of the following events occurs:

              9.1. I   This Agreement has been signed by Plaintiff, or her representative, and

                       Defendants;

              9.1.2    The Court has entered the Preliminary Approval Order;

              p.1.3    The Court has entered the Final Approval Order and Judgment, following

                       Notice to the Settlement Class and a Final Approval Hearing, as provided

                       in the Federal Rules of Civil Procedure, and has entered the Final Approval

                       Order and Judgment, or a final approval order and judgment substantially
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 18 of 42 PageID #:
                                     704



                        consistent with this Agreement (the " Alternative Final Approval Order and

                        Judgment")

              9. I .4   The Defendants have completed their contribution to the settlement fund as

                        identified in Paragraph 2.1 above; and

              9.1.5     The Final Approval Order and Judgment has become Final, as defined

                        above.

       9 .2 If some or all of the conditions specified in Paragraph 9 .1 are not met, or in the event

            that this Agreement is not approved by the Court, then this Settlement Agreement

            shall be canceled and terminated unless Plaintiff's counsel and Defendants mutually

            agree in writing to proceed with this Agreement.

       9.3 In the event one hundred (100) or more individuals within the Settlement Class object

            to this Settlement Agreement or request to be excluded from the Settlement Class,

            NCWC and/or Palmer may, in its exclusive discretion, terminate and cancel this

            Agreement by providing notice thereof in writing to Class Counsel, at least 30 days

            prior to the date set for the Final Approval Hearing

       9.4 If this Agreement is terminated or fails to become Effective, the Parties shall be

            restored to their respective positions in the Action as of the date of the signing of this

            Agreement. [n such event, any Final Approval Order and Judgment or other order

            entered by tbe Court in accordance with the terms of this Agreement shall be treated

            as vacated, nunc pro tune, and the Parties shall be returned to the status quo ante with

            respect to the Action as if this Agreement had never been entered into. Furthermore,

            in the event that the Agreement does not become effective or is terminated, the balance
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 19 of 42 PageID #:
                                     705



                  of the Common Fund not expended on notice and administration shall be returned to

                  the Defendants.

  10. SHAFTEL SECURITY INTEREST
          I 0.1     At mediation, Michael Shaftel represented and warranted, and by his signature

  below now reaffirms: that he owns the home located at

                                 , subject only to a first mortgage held by Morgan Stanley, with no

  other liens or encumbrances; that the approximate value of the home exceeds $2 million; that he

  has more than $650,000 in equity in the home; and that he personally guarantees that the

  settlement will be paid. He will personally secure payment of the full $650,000 amount of this

  settlement through a second lien security interest/deed of trust, held by Bailey & Glasser, on that

  home.



  11. MISCELLANEOUS PROVISIONS


          11.1 The Parties (a) acknowledge that it is their intent to consummate this Settlement

                  Agreement; and (b) agree, subject to their :fiduciary and other legal obligations, to

                  cooperate to the extent reasonably necessary to effectuate and implement all terms

                  and conditions of this Agreement and to exercise their reasonable best efforts to

                  accomplish the foregoing terms and conditions of this Agreement. Plaintiff's counsel

                  and Defendants agree to cooperate with one another in seeking Court approval of the

                  Pre Iiminary Approval Order, the Settlement Agreement, and the Final Approval Order

                  and Judgment, and promptly to agree upon and execute all such other documentation

                  as may be reasonably required to obtain final approval of the Agreement.

          11.2 The Parties intend this Settlement Agreement to be a final and complete resolution of

                  all disputes between them with respect to the Released Claims by Plaintiff and the
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 20 of 42 PageID #:
                                     706



           Settlement Class, and each or any of them, on the one hand, against the Released

           Parties, and each or any of the Released Parties, on the other hand. Accordingly, the

           Parties agree not to assert in any forum that the Action was brought by Plaintiff or

           defended by Defendants, or each or any of them, in bad faith or without a reasonable

           basis.

       11.3 The Parties have relied upon the advice and representation of counsel, selected by

           them, concerning their respective legal liability for the claims hereby released. The

           Parties have read and understand fully the above and foregoing Agreement and have

           been fully advised as to the legal effect thereof by counsel of their own selection and

           intend to be legally bound by the same.

       11.4 The Settlement and this Agreement represent a negotiated compromise, and

           regardless whether the Effective Date occurs or the Settlement Agreement is

           terminated, neither this Agreement nor the Settlement, nor any act performed or

           document executed pursuant to or in furtherance of th is Agreement or the Settlement:

              11.4. J Is, may be deemed, or shall be used, offered or received against the Released

                     Parties, or each or any of them, as an admission, concession, or evidence of

                     the validity of any Released Claims, the truth of any fact alleged by the

                     Class Representative, the deficiency of any defense that has been or could

                     have been asserted in the Action, the violation of any law or statute, the

                     reasonableness of either the Settlement fund or the Fee Award, or of any

                     alleged wrongdoing, liability, negligence, or fault of the ReJeased Parties,

                     or any of them;
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 21 of 42 PageID #:
                                     707



              11.4.2 ls, may be deemed, or shall be construed against Plaintiff and the Settlement

                      Class, or each or any of them, or against the Released Parties, or each or

                      any of them, as an admission, concession, or evidence that the consideration

                      to be given hereunder represents an amount equal to, less than or greater

                     than that amount that could have or would have been recovered after trial;

                      or

              1 l.4.3 ls, may be deemed, or shal l be construed against Plaintiff and the Settlement

                      Class, or each or any of them, or against the Released Parties, or each or

                      any of them, as an admission, concessjon, or evidence that any of Plaintiff

                      or the Settlement Class's claims are with or without merit or that damages

                      recoverable in the Action would have exceeded or would have been less

                      than any particular amount.

       11.5 Unless the context of this Agreement requires otherwise, the plural includes the

           singular, the singular includes the plural, and "including" has the inclusive meaning

           of " including without limitation."       The words "hereof," "herein," "hereby,"

           "hereunder," and other similar terms of this Agreement refer to this Agreement as a

           whole and not exclusively to any particular provision ofthis Agreement. AlJ pronouns

           and any variations thereof will be deemed to refer to masculine, feminine, or neuter,

           singular, or plural, as the identity of the person or persons may require.

       I l.6 The waiver by one Party of any breach of this Agreement by any other Party shall not

           be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

       11.7 Except as otherwise provided herein, each Party shall bear its own costs and attorneys'

           fees.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 22 of 42 PageID #:
                                     708



         11.8 Each counsel or other Person executing this Settlement Agreement, any of its

             Exhibits, or any related settlement documents on behalf of any Party hereto hereby

                 warrants and represents that such Person has the full authority to do so and has the

                 authority to take appropriate action required or permitted to be taken pursuant to the

                 Agreement to effectuate its terms.

         l J .9 This Agreement may be executed by the Parties in one or more counterparts, each of

                 which shall be deemed an original but all of which together shall constitute one and

                 the same instrument. Facsimile signatures or scanned and e-mailed signatures shall be

                 treated as original signatures and shall be binding.

         11.10 This Settlement Agreement shall be binding upon, and inure to the benefit of, the

                 successors and assigns of the Parties hereto and the Released Parties.

         1 I .11 This Agreement is deemed to have been prepared by counsel for all Parties, as a

                 result of arms' length negotiations among the Parties with the aid of a neutral

                 mediator. Whereas all Parties have contributed substantially and materially to the

                 preparation of this Agreement, it shall not be construed more strictly against one Party

                 thFtn another.

         l 1. l 2 The Settlement MemorandLLm shall survive execution of this Agreement and shall

                 not be merged hereinto. In the event any provision of this Agreement expressly

                 conflicts with a provision of the Settlement Memorandum, the conflicting provision

                 of this Agreement shall prevail.


         IN WITNESS WHEREOF, the Parties hereto have caused this Settlement Agreement to

  be executed.


  For Plaintiff and the Settlement Class:
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 23 of 42 PageID #:
                                     709




              o/.f:~~'
                Class Representative
                                                     Date:




                                                     Date:   J.- l. -:/ - I =i


                Printed Name and Title




                                                     Date:   l -J.:1-17.




   For Defendant Got Warranty, Inc.:


                                                     Dace:
                Authorized Representative
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 24 of 42 PageID #:
                                     710




          EXHIBIT 1
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 25 of 42 PageID #:
                                     711



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 DIANA MEY, individually and on behalf of a
 class of all persons and entities similarly
 situated,

                 Plaintiff,

 v.                                                   Civil Action No. 5:15-cv-00101-JPB
                                                      Hon. John Preston Bailey

 GOT WARRANTY, INC., N.C.W.C., INC.,
 PALMER ADMINISTRATIVE SERVICES,
 INC., and GANNA FREIBERG,

                 Defendants.

                               PRELIMINARY APPROVAL ORDER

        The Plaintiff has moved for preliminary approval of a proposed class settlement which

 would resolve the Plaintiff’s class-action claims brought under the Telephone Consumer

 Protection Act, 47 U.S.C. § 227, et seq. Upon consideration of the motion, the Settlement

 Agreement, and the exhibits thereto, the Court GRANTS preliminary approval of the Settlement,

 finding specifically as follows. 1

                                          I.      Jurisdiction

          1.      The Court preliminarily finds that it has jurisdiction over the subject matter of

  this action and personal jurisdiction over the parties and the members of the Settlement Class

  described below.

                                II.    Certification of Settlement Class

          2.      Under Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily



   1 Unless otherwise defined herein, all capitalized names have the definitions set forth in the
     Settlement Agreement.
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 26 of 42 PageID #:
                                     712



  certifies the following “Settlement Class,” consisting of:


        All persons or entities within the United States to whom Got Warranty, Inc., or
        any third parties on its behalf, sent telemarketing calls promoting the goods or
        services of the defendants at any time from August 6, 2011 to February 27, 2017.


                       III.    Class Representative and Class Counsel

        3.      The Court preliminarily appoints Plaintiff Diana Mey as Class Representative.

        4.      Under Rule 23(g), the following attorneys and firms are preliminarily appointed

 as Class Counsel:


 John W. Barrett
 BAILEY & GLASSER LLP
 209 Capitol Street
 Charleston, WV 25301

 Edward Broderick
 Anthony Paronich
 BRODERICK & PARONICH, P.C.
 99 High St., Suite 304
 Boston, Massachusetts 02110

 Matthew P. McCue
 THE LAW OFFICE OF MATTHEW P. MCCUE
 1 South Avenue, Suite 3
 Natick, Massachusetts 01760

                                 IV.    Rule 23 Requirements

         5.      The Court preliminarily finds that the prerequisites for a class action under

  Federal Rules of Civil Procedure 23(a) have been satisfied in that: (a) the number of Settlement

  Class Members is so numerous that joinder of all members thereof is impracticable; (b) there

  are questions of law and fact common to the Settlement Class Members; (c) the claims of the

  class representative are typical of the claims of the Settlement Class Members; (d) the class

  representative will fairly and adequately represent the interests of the Settlement Class Members


                                                  2
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 27 of 42 PageID #:
                                     713



         6.      The Court further finds that the prerequisites for class certification under Rule

  23(b)(3) have been satisfied in that (A) questions of law and fact common to the Settlement

  Class Members predominate over any questions affecting only individual Settlement Class

  Members; and (B) a class action is superior to other available methods for the fair and efficient

  adjudication of the controversy.

                           V.        Preliminary Approval of the Settlement

         7.      Pursuant to the Settlement Agreement, the Defendants have agreed to pay

  $650,000 to create the Settlement Fund. Amounts awarded to Class Counsel or the Class

  Representative will be paid from the Settlement Fund. Class Members will receive a pro-rata

  share of the Settlement Fund after attorneys’ fees and costs, the Class Representative’s award,

  and the costs of notice and administration are deducted. In addition to payments from the

  Settlement Fund, Defendants have agreed to ensure that any entity placing a call on its behalf

  will join and comply with the standards of the Vehicle Protection Association.

         8.      Having considered the motion for preliminary approval, the Settlement

  Agreement, and the exhibits thereto, the Court preliminarily finds that the Settlement is fair,

  adequate, reasonable, and in the best interests of the Settlement Class. This finding is supported

  by, among other things, the complex legal and factual posture of the Action, the fact that the

  Settlement is the result of arms’ length negotiations presided over by a neutral mediator, and the

  settlement benefits being made available to Settlement Class Members.

                                  VI.      Notice and Administration

         9.      The Court appoints of Kurtzman Carson Consultants to perform the functions

  and duties of the Settlement Administrator set forth in the Settlement Agreement – including




                                                  3
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 28 of 42 PageID #:
                                     714



  effectuating the Notice Plan – and to provide such other administration services as are

  reasonably necessary to facilitate the completion of the Settlement.

         10.     The Court has carefully considered the Notice Plan set forth in the Settlement

  Agreement. The Court finds that the Notice Plan constitutes the best notice practicable under

  the circumstances, and satisfies fully the requirements of Rule 23(c)(2), and the requirements of

  due process.

         11.     The Court thus approves the Notice Plan and the form, content, and requirements

  of the Notice described in and attached as exhibits to the Settlement Agreement. The Settlement

  Administrator shall cause the Notice Plan to be completed on or before [21 days after

  preliminary approval]. Class Counsel shall, prior to the Final Approval Hearing, file with the

  Court a declaration executed by the Settlement Administrator attesting to the timely completion

  of the Notice Plan.

         12.     All costs of providing Notice to the Settlement Class, processing Claim Forms,

  and administering distributions from the Settlement Fund shall be paid out of the Settlement

  Fund, as provided by the Settlement Agreement.

                              VII.    Exclusion and “Opt-Outs”

         13.     Each and every member of the Settlement Class shall be bound by all

  determinations and orders pertaining to the Settlement, including the release of all claims to the

  extent set forth in the Settlement Agreement, unless such persons request exclusion from the

  Settlement in a timely and proper manner, as hereinafter provided.

         14.     A member of the Settlement Class wishing to request exclusion (or “opt-out”)

  from the Settlement shall mail the request in written form, by first class mail, postage prepaid,

  and received no later than [51 days after preliminary approval], by the Settlement



                                                 4
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 29 of 42 PageID #:
                                     715



  Administrator at the address specified in the Notice. In the written request for exclusion, the

  member of the Settlement Class must state his or her full name, address, and telephone

  numbers. Further, the written request for exclusion must include a statement that the member of

  the Settlement Class submitting the request wishes to be excluded from the Settlement, and the

  personal signature of the member of the Settlement Class submitting the request. The request

  for exclusion shall not be effective unless the request for exclusion provides the required

  information and is made within the time stated above, or the exclusion is otherwise accepted by

  the Court. No member of the Settlement Class, or any person acting on behalf of or in concert or

  in participation with a member of the Settlement Class, may request exclusion of any other

  member of the Settlement Class from the Settlement.

         15.     Members of the Settlement Class who timely request exclusion from the

  Settlement will relinquish their rights to benefits under the Settlement and will not release any

  claims against the Defendants or any of the other Released Parties.

         16.     All Settlement Class Members who do not timely and validly request exclusion

  shall be so bound by all terms of the Settlement Agreement and by the Final Approval Order

  and Judgment even if they have previously initiated or subsequently initiate individual litigation

  or other proceedings against the Defendants or any of the other Released Parties.

         17.     The Settlement Administrator will promptly provide all Parties with copies of

  any exclusion requests, and Plaintiff shall file a list of all persons who have validly opted-out of

  the Settlement with the Court prior to the Final Approval Hearing.

                                           VIII. Objections

         18.     Any Settlement Class Member who does not file a timely request for exclusion,

  but who wishes to object to approval of the proposed Settlement, to the award of attorneys’ fees



                                                  5
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 30 of 42 PageID #:
                                     716



  and expenses, or to the compensation award to the Class Representative must submit to Class

  Counsel and the Settlement Administrator a written statement that includes: his or her full

  name; address; telephone numbers that he or she maintains were called; all grounds for the

  objection, with factual and legal support for each stated ground; the identity of any witnesses he

  or she may call to testify; copies of any exhibits that he or she intends to introduce into evidence

  at the Final Approval Hearing; the identity of any attorney consulted as to such objection; and a

  statement of whether he or she intends to appear at the Final Approval Hearing with or without

  counsel. Any objecting Settlement Class Member also must send a copy of the filing to the

  Settlement Administrator at the same time it is filed with the Court. The Court will consider

  objections to the Settlement, to the award of attorneys’ fees and expenses, or to the

  compensation award to the Class Representative only if, on or before [51 days after

  preliminary approval], such objections and any supporting papers are filed in writing with the

  Clerk of this Court and served on the Settlement Administrator.

         19.     A Settlement Class Member who has timely filed a written objection as set forth

  above may appear at the Final Approval Hearing in person or through counsel to be heard orally

  regarding their objection. It is not necessary, however, for a Settlement Class Member who has

  filed a timely objection to appear at the Final Approval Hearing. No Settlement Class Member

  wishing to be heard orally in opposition to the approval of the Settlement and/or the request for

  attorneys’ fees and expenses and/or the request for a compensation award to the Class

  Representative will be heard unless that person has filed a timely written objection as set forth

  above. No non-party, including members of the Settlement Class who have timely opted-out of

  the Settlement, will be heard at the Final Approval Hearing.

         20.     Any member of the Settlement Class who does not opt out or make an objection



                                                  6
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 31 of 42 PageID #:
                                     717



  to the Settlement in the manner provided herein shall be deemed to have waived any such

  objection by appeal, collateral attack, or otherwise, and shall be bound by the Settlement

  Agreement, the releases contained therein, and all aspects of the Final Approval Order and

  Judgment.

                                    IX.     Final Approval Hearing

         21.    A Final Approval Hearing is will be held before the Court on [at least 100 days

  after preliminary approval] at _____ am for the following purposes:

               (a)       to finally determine whether the requirements of Federal Rules of Civil

        Procedure 23(a) and (b) are met;

               (b)       to determine whether the Settlement is fair, reasonable and adequate, and

        should be approved by the Court;

               (c)       to determine whether the judgment as provided under the Settlement

        Agreement should be entered, including a bar order prohibiting Settlement Class

        Members from further pursuing claims released in the Settlement Agreement;

               (d)       to consider the application for an award of attorneys’ fees and expenses of

        Class Counsel;

               (e)       to consider the application for an compensation award to the Class

        Representative;

               (f)       to consider the distribution of the Settlement Benefits under the terms of

        the Settlement Agreement; and

               (g)       to rule upon such other matters as the Court may deem appropriate.

         22.    On or before fourteen (14) days prior to the Final Approval Hearing, Class

  Counsel shall file and serve (i) a motion for final approval; and (ii) any application for a



                                                  7
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 32 of 42 PageID #:
                                     718



  compensation award to the Class Representative as well as any application for an award of

  attorneys’ fees and expenses.

         23.     The Final Approval Hearing may be postponed, adjourned, transferred or

  continued by order of the Court without further notice to the Settlement Class. At, or following,

  the Final Approval Hearing, the Court may enter a Final Approval Order and Judgment in

  accordance with the Settlement Agreement that will adjudicate the rights of all class members.

         24.     For clarity, the deadlines the Parties shall adhere to are as follows:

 Class Notice Completed by:             _________, 2016

 Objection/Exclusion Deadline:          _________, 2017

 Claim Deadline:                        _________, 2017

 Final Approval Submissions:            _________, 2017

 Final Approval Hearing:                _________, 2017 at ______ am

         25.     Settlement Class Members do not need to appear at the Final Approval Hearing

  or take any other action to indicate their approval.

                                        X.      Further Matters

         26.     All discovery and other pretrial proceedings in the Action are stayed and

  suspended until further order of the Court except such actions as may be necessary to

  implement the Settlement Agreement and this Order.

         27.     In the event that the Settlement Agreement is terminated under the terms of the

  Settlement Agreement, or for any reason whatsoever the approval of it does not become final

  and no longer subject to appeal, then: (i) the Settlement Agreement shall be null and void,

  including any provisions related to the award of attorneys’ fees and expenses, and shall have no

  further force and effect with respect to any party in this Action, and shall not be used in this



                                                   8
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 33 of 42 PageID #:
                                     719



  Action or in any other proceeding for any purpose; (ii) all negotiations, proceedings, documents

  prepared, and statements made in connection therewith shall be without prejudice to any person

  or party hereto, shall not be deemed or construed to be an admission by any party of any act,

  matter, or proposition, and shall not be used in any manner of or any purpose in any subsequent

  proceeding in this Action or in any other action in any court or other proceeding, provided,

  however, that the termination of the Settlement Agreement shall not shield from subsequent

  discovery any factual information provided in connection with the negotiation of this Settlement

  Agreement that would ordinarily be discoverable but for the attempted settlement; (iii) this

  Order shall be vacated; and (iv) any party may elect to move the Court to implement the

  provisions of this paragraph, and none of the non-moving parties (or their counsel) shall oppose

  any such motion.

         28.    The Court retains jurisdiction to consider all further matters arising out of or

  connected with the Settlement.

 DATED:                       , 2017
                                             United States District Court




                                                9
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 34 of 42 PageID #:
                                     720




          EXHIBIT 2
5:15-cv-00101-JPB-JES                        Document
   A proposed settlement (the “Settlement”) has been reached in a 139-1          Filed
                                                                  class action lawsuit, Mey04/05/17           Page
                                                                                            v. Got Warranty, Inc., et. al., 35   of 42 Page
                                                                                                                            No. 5:15-cv-00101-
                                                                    721
   JPB, pending in the United States District Court for the Northern District of West Virginia (the “Action”). The lawsuit alleges that the
   Defendants made telemarketing calls in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”). Defendants
     deny that they violated any laws. Plaintiff and Defendants have agreed to the Settlement to avoid the burden, expense, risk and uncertainty of
     continuing the Lawsuit.
     Who is included? You were identified as someone who may have received one or more of these phone calls since August 6, 2011.
     How much money can I get? If the Court approves the Settlement, every Settlement Class Member who submits a valid claim will be
     entitled to equal payments from the $650,000 Settlement Fund. Your actual payment amount will depend on how many Settlement Class
     Members are successfully located. The Settlement Fund will be divided and distributed equally–sometimes referred to as “pro rata”–to all
     Settlement Class Members after attorneys’ fees, costs and expenses, an award for the Class Representative, and notice and administration
     costs have been deducted.
     How can I get a payment? In order to receive payments, you must complete the claims form. Based on information currently available the
     parties, the estimated payment for each Settlement Class Member will be [INSERT], paid in two separate distributions.
     What are my options? If you are a Settlement Class Member, you submit a valid claim, and the Court approves the Settlement, you will be
     bound by all of the Settlement terms, including the releases of claims against Defendants and the other Released Parties. Alternatively, you
     may “opt out” (exclude yourself) from the Settlement. If you opt out, you will not receive a payment, and you will not release any claims.
     You will be free to pursue whatever legal rights you may have at your own risk and expense. To exclude yourself from the Settlement, you
     must mail a request for exclusion to the Settlement Administrator, , P.O. Box xxxx, City ST xxxx-xxxx] which must be received by
     [INSERT DATE] that includes your full name, address, telephone number or numbers, a statement that you wish to be excluded from the
     Settlement, and your personal signature. Unless you exclude yourself from this Settlement, you give up your right to sue or continue a
     lawsuit against Defendants and the other Released Parties. You may object to the Settlement by submitting a written objection in Mey v. Got
     Warranty, Inc., et. al., United States District Court for the Northern District of West Virginia, No. 5:15-cv-00101-JPB, U.S. District Court,
     Northern District of West Virginia, 1125 Chapline St, Wheeling, WV 26003 by [INSERT DATE]; and the (2) the Settlement
     Administrator; and (3) Class Counsel. Any objection must include your full name; address; telephone numbers that you maintain were
     called; all grounds for your objection, with factual and legal support for each stated ground; the identity of any witnesses you may call to
     testify; copies of any exhibits that you intend to introduce into evidence; identification of any lawyer you consulted with as to this settlement
     and a statement of whether you intend to appear at the Final Approval Hearing with or without counsel. Attendance at the hearing is not
     necessary. If you want to be heard orally (either personally or through counsel) in opposition to the Settlement you must file a timely
     objection as set forth above.
     When will the Settlement be finally approved? The Court will hold a Final Approval Hearing (the “Hearing”) at TIME on DATE at the
     U.S. District Court for the Northern District of West Virginia, 1125 Chapline St, Wheeling, WV 26003. At the Hearing, the Court will
     consider whether to approve: the proposed Settlement as fair, reasonable, and adequate; Class Counsel’s request of up to one-third of the
     Settlement Fund in fees in addition to their costs and expenses; and a $15,000 payment to the Class Representative. The Court will also hear
     objections to the Settlement. If approval is denied, reversed on appeal, or does not become final, the case will continue and claims will not be
     paid.
     Want more information? The Settlement Agreement, claim form, and other relevant documents are available at [website]. Pleadings and
     documents filed in Court may be reviewed or copied in the office of the Clerk. Please do not call the Judge or the Clerk of the Court. They
     cannot give you advice on your options.




                         TBD




                                      PLACEHOLDER BRM PANEL: DO NOT USE.
                                             THIS SECTION IS FOR
                                              DEMONSTRATION ONLY



     2441947.1
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 36 of 42 PageID #:
                                     722




          EXHIBIT 3
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 37 of 42 PageID #:
                                     723



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 DIANA MEY, individually and on behalf of a
 class of all persons and entities similarly
 situated,

                Plaintiff,

 v.                                                     Civil Action No. 5:15-cv-00101-JPB
                                                        Hon. John Preston Bailey

 GOT WARRANTY, INC., N.C.W.C., INC.,
 PALMER ADMINISTRATIVE SERVICES,
 INC., and GANNA FREIBERG,

                Defendants.

               NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION

            THIS NOTICE CONCERNS SETTLEMENT OF A LAWSUIT THAT
                   MAY ENTITLE YOU TO RECEIVE A PAYMENT

 This is a Notice of a proposed Settlement in a class action lawsuit, Mey v. Got Warranty, Inc., et. al.,
 No. 5:15-cv-00101-JPB, pending in the United States District Court for the Northern District of
 West Virginia (the “Action”). The Settlement would resolve the Plaintiff’s claims that the
 Defendants made telemarketing calls to Class Members in violation of federal law.

 WHAT IS THE LAWSUIT ABOUT?
 The lawsuit alleges that the Defendants made telemarketing calls in violation of the Telephone
 Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”). The Defendants deny the Plaintiff’s
 claims. Although this Settlement does not decide that disputed issue, the Court has preliminarily
 certified this matter as a class action. You are a member of the Settlement Class if you meet the
 following description:

        All persons or entities within the United States to whom Got Warranty, Inc., or
        any third parties on its behalf, sent telemarketing calls promoting the goods or
        services of the defendants at any time from August 6, 2011 to February 27, 2017.

 Records in this action indicate the telephone numbers, names and addresses of members of the
 Settlement Class.


 WHAT IS A CLASS ACTION?
 In a class action, one or more people or entities, called “class representatives” (in this case,
 Diana Mey), sue on behalf of a group of people who have similar claims. All of those people
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 38 of 42 PageID #:
                                     724



 together are a “class” or “class members.” The Settlement in this Action, if approved by the
 Court, resolves the claims of all members of the Settlement Class against defendants, except for
 those who exclude themselves from the Settlement Class.

 WHY IS THERE A SETTLEMENT?
 The Court did not decide in favor of the Plaintiff or Defendants. Instead, both sides have agreed
 to a Settlement. This avoids the cost, risk, and delay of trial. Under the Settlement, members of
 the Settlement Class will have the opportunity to obtain a payment from Defendants in exchange
 for giving up certain legal rights. The Class Representative and the lawyers who brought the
 Action (“Class Counsel”) think the Settlement is best for all members of the Settlement Class.

 WHAT DOES THE SETTLEMENT PROVIDE?
 Defendants have agreed to pay $650,000 to create a Settlement Fund. Class Counsel (listed
 below) will ask the Court to award them up to one third of that amount in attorneys’ fees, plus
 their out-of-pocket expenses, to compensate them for the substantial time and resources they
 devoted to this case. The Class Representative also will apply to the Court for payment of
 $15,000 in recognition of her service to the Settlement Class. Any amounts awarded to Class
 Counsel and the Class Representative will be paid from the Settlement Fund. The Settlement
 Fund will also cover costs associated with Notice and administration of the Settlement. These
 costs include the cost of mailing this Notice and publishing Notice of the Settlement, as well as
 the costs of administering the Settlement Fund. After attorneys’ fees and costs, the Class
 Representative service payments, and the expenses of notice and administration are deducted
 from the Settlement Fund, the balance will be divided and distributed to Settlement Class Members
 who submit valid claims.

 In addition to payments from the Settlement Fund, Defendants have agreed to ensure that any entity
 placing a call on its behalf will join and comply with the standards of the Vehicle Protection
 Association.

 HOW MUCH WILL I BE PAID?
 If the Court approves the Settlement, every Settlement Class Member who submits a valid claim
 will be entitled to equal payments from the Settlement Fund. That is, the amount of the
 Settlement Fund available for distribution will be divided equally – sometimes referred to as “pro
 rata” – among all Settlement Class Members who submit valid claims.

 YOUR OPTIONS
 Your choices are to:

 1. Submit a Claim and Receive Payments. If you are a member of the Settlement Class, you
    submit a valid claim, and the Settlement is finally approved by the Court, you will be bound
    by all of the terms of the Settlement, including the releases of claims, and you will receive
    payments from the Settlement Fund.

 2. Exclude Yourself. You may “opt out” and exclude yourself from the Settlement. If you opt
    out, you will not be eligible to receive any payment, and you will not release any claims you
    may have. You will be free to pursue whatever legal rights you may have at your own risk
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 39 of 42 PageID #:
                                     725



    and expense. To exclude yourself from the Settlement, you must mail a request for exclusion
    to the Settlement Administrator (address below) received by [INSERT DATE] that includes
    your full name, address, telephone number or numbers, a statement that you wish to be
    excluded from the Settlement, and your personal signature.

 3. Object to the Settlement. You may object to the Settlement by submitting a written
    objection to (1) the United States District Court for the Northern District of West Virginia,
    1125 Chapline St, Wheeling, WV 26003; (2) Class Counsel; and (3) the Settlement
    Administrator. Any objection must be received by [INSERT DATE]. Any objection to the
    Settlement must include your full name; address; telephone numbers that you maintain were
    called; all grounds for your objection, with factual and legal support for each stated ground;
    the identity of any witnesses you may call to testify; copies of any exhibits that you intend to
    introduce into evidence at the Final Approval Hearing; and a statement of whether you intend
    to appear at the Final Approval Hearing with or without counsel. Attendance at the hearing is
    not necessary; however, persons wishing to be heard orally (either personally or through
    counsel) in opposition to the approval of the Settlement are required to file a timely objection
    as set forth above.

 WHEN WILL I BE PAID?
 If the Court approves the Settlement, you will receive a payment no later than [INSERT
 DATE]. You will receive a second payment no later than [INSERT DATE]. If there is an appeal
 of the Settlement, payment may be delayed. The Settlement Administrator will provide
 information about the timing of payment at [WEBSITE].

 WHO REPRESENTS THE SETTLEMENT CLASS?
 The attorneys who have been appointed by the Court to represent the Settlement Class are:

               John W. Barrett                                 Matthew P. McCue
          BAILEY & GLASSER LLP                        The Law Office of Matthew P. McCue
              209 Capitol Street                            1 South Ave, Third Floor
            Charleston WV 25301                                Natick, MA 01760

            Edward A. Broderick
             Anthony I. Paronich
          Broderick & Paronich, P.C.
            99 High St., Suite 304
             Boston, MA 02110

 WHAT RIGHTS AM I GIVING UP IN THIS SETTLEMENT?
 If the Court gives final approval to the Settlement, Members of the Settlement Class will release
 their rights to sue or continue a lawsuit against Defendants and the other Released Parties related
 to telemarketing calls that violate state or federal law. Giving up your legal claims is called a
 release. If you filed your own lawsuit for the violations alleged in this case you could, if you win,
 recover up to $1,500 per call plus an order prohibiting future calls. If you exclude yourself,
 however, the lawyers in this case would no longer represent you and the Defendants would
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 40 of 42 PageID #:
                                     726



 vigorously assert all available defenses. You could lose and receive nothing. This Settlement
 affords Class Members the opportunity to obtain a smaller amount of money, risk-free.

 WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
 SETTLEMENT?
 The Court will hold a Final Approval Hearing (the “Hearing”) at [TIME] on [DATE]. The
 hearing will be held at the U.S. District Court, Northern District of West Virginia, 1125 Chapline
 St, Wheeling, WV 2600. At the Hearing, the Court will consider whether the proposed
 Settlement is fair, reasonable, and adequate. The Court will hear objections to the Settlement, if
 any. The Court will also determine how much to pay Class Counsel. After the Hearing, the Court
 will decide whether to approve the Settlement. The Hearing may be continued at any time by the
 Court without further notice to you. If the Court does not approve the Settlement, if it approves
 the Settlement but the approval is reversed on appeal, or if the Settlement does not become final
 for some other reason, you will not be paid at this time and the case will continue. The parties
 may negotiate a different settlement or the case may go to trial.

 DO NOT ADDRESS QUESTIONS ABOUT THE SETTLEMENT OR THE LAWSUIT
 TO THE CLERK OF THE COURT OR TO THE JUDGE. PLEASE DIRECT
 QUESTIONS TO:

                       SETTLEMENT ADMINISTRATOR – [INSERT]

                                    Toll-Free 1-____________


 DATED: ____________, 2017
Case 5:15-cv-00101-JPB-JES Document 139-1 Filed 04/05/17 Page 41 of 42 PageID #:
                                     727




          EXHIBIT 4
                                                            PROOF OF
                               Case 5:15-cv-00101-JPB-JES Document   CLAIMFiled
                                                                   139-1   FORM 04/05/17 Page 42 of 42 PageID #:
                                                                    728
Complete the Steps Below to Submit a Claim Under the Settlement Described in the Notice. You must complete and return this Claim Form (or complete the
on-line claim form at [insert website]) before the deadline to be eligible to receive a payment under the Settlement.

1.      Identify yourself:

        Name: __________________________________________________________________

        Address: _________________________________________________________________

        City/State/Zip Code: _______________________________________________________

        Telephone number for which claim is submitted: ____________________________________

2.      Verify that you are a member of the Settlement Class described in the Notice (your information will be compared to the Class List):

         By checking this box, I am confirming that, between August 6, 2011 and [date Agreement signed]:                                          □

              I received a telemarketing call made by Got Warranty, Inc., or any third party on its behalf, that I believe to have violated the
              TCPA.

3.      Sign the Claim Form and Transmit It to the Settlement Administrator.

     After you complete this Claim Form, sign it below and return it by one of the following methods:

     A. By e-mail to the Settlement Administrator at [EMAIL] no later than midnight, U.S. Eastern Standard Time, on [DATE]. If you use e-mail, you must send
        the Claim Form in a format that includes a legible signature.

     B. By United States Mail to the Settlement Administrator, postmarked no later than [DATE], at the following address:

         [to be inserted]

NOTE: Only one claim is permitted per domicile.

I certify that the foregoing statements are true to the best of my knowledge. I understand that the Settlement Administrator has the right to verify my
responses and dispute any claims that are based on inaccurate responses.

Signature: _________________________                  Date: ________________
